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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
12                         Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                          DEFENDANTS UBER
13          v.                                            TECHNOLOGIES, INC. AND
                                                          OTTOMOTTO LLC’S
14   UBER TECHNOLOGIES, INC.,                             ADMINISTRATIVE MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    FILE DOCUMENTS UNDER SEAL
15
                           Defendants.
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3789077
     Case 3:17-cv-00939-WHA Document 748-2 Filed 06/27/17 Page 2 of 2



 1
            Upon consideration of Defendants Uber Technologies, Inc. and Ottomotto LLC’s
 2
     (“Defendants”) Administrative Motion to File Documents Under Seal, and finding that good
 3
     cause exists, this Court hereby GRANTS Defendants’ Administrative Motion to File Documents
 4
     Under Seal and ORDERS that the following documents shall be sealed, as indicated below:
 5

 6
      Title of Document                                     Portions to Be Filed Under Seal
 7
      Opposition to Waymo’s Motion to Compel                       Highlighted Portions
 8    (“Opposition”)

 9    Exhibit 3                                                      Entire Document
10    Exhibit 4                                                    Highlighted Portions
11
      Exhibit 5                                                    Highlighted Portions
12
      Exhibit 6                                                    Highlighted Portions
13
      Exhibit 7                                                    Highlighted Portions
14

15          IT IS SO ORDERED.
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     Dated: _____________, 2017
18                                               HONORABLE JACQUELINE SCOTT CORLEY
                                                 United States Magistrate Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3789077
